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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                     §
 AMERICA,                                          §
                                                   §     ORDER TO SHOW CAUSE RE:
                  Plaintiff,                       §     PRELMINARY INJUNCTION
                                                   §
 v.                                                §
                                                   §     CIVIL CASE NO. 18-CV-0566
 ANDREW CUOMO, both individually and               §
 in his official capacity; MARIA T. VULLO,         §     TJM/CFH
 both individually and in her official             §
 capacity; and THE NEW YORK STATE                  §
 DEPARTMENT OF FINANCIAL                           §
 SERVICES,                                         §
                                                   §
                  Defendants.                      §


          Upon the annexed memorandum of law, Declarations of Sarah B. Rogers, Arthur R.

Miller, and John R. Cashin, and all prior papers and proceedings, it is hereby ORDERED that

Defendants show cause before a motion term of this Court, at Room ___, James T. Foley U.S.

Courthouse, 445 Broadway, Albany, New York, on the _____ day of ________, 2020 at ____ in

the _____, or as soon thereafter as counsel can be heard, why an Order should not be issued

pursuant to Rule of Civil Procedure 65 and Local Rule 7.1 for a preliminary injunction

restraining the New York State Department of Financial Services (“DFS”) from initiating

enforcement proceedings against the NRA , and granting such other relief as the Court may deem

proper.

          Ordered that service of a copy of this Order to Show Cause and accompanying papers,

shall be served on Defendants’ counsel on or before ________, 2020, and shall be deemed good

and sufficient service.




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         Ordered that answering papers, if any, shall be filed and served upon Brewer, Attorneys

& Counselors, 750 Lexington Avenue, Floor 14, New York, NY 10022, on or before _________,

2020.

         Ordered that reply papers, if any, shall be filed and served upon Defendants’ counsel, on

or before _________, 2020.




         DATED: February ___, 2020

         Albany, NY                                          __________________________

                                                             U.S. District Judge




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing and all accompanying

documents was served upon the following counsel of record in the above cause using the CM/ECF

system on this 28th day of February 2020.


 William A. Scott
 Assistant Attorney General, Of Counsel
 New York State Attorney General’s Office
 Albany Office
 The Capitol Albany, New York
 12224-0341
 Email: William.Scott@ag.ny.com




                                            /s/ Sarah B. Rogers

                                            Sarah B. Rogers




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